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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KENNETH J. MELIKIAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, Ca. 95814
 4   Telephone: (916) 554-2700

 5

 6

 7                IN THE UNITED STATES DISTRICT COURT FOR THE

 8                       EASTERN DISTRICT OF CALIFORNIA

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10

11   UNITED STATES OF AMERICA,      )         CR. NO. S-05-100 GEB
                                    )
12                   Plaintiff,     )
                                    )         STIPULATION AND ORDER
13                                  )
                                    )
14   TOMMY WILLIAMS,                )
                                    )
15                   Defendant.     )
     _______________________________)
16
           Defendant Tommy Williams, through Michael B. Bigelow, Attorney
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     At Law, and the United States of America, through Assistant U.S.
18
     Attorney Kenneth J. Melikian, request and agree that the
19
     arraignment scheduled for April 21, 2006, be vacated.             The parties
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     further request and stipulate that the arraignment be placed on
21
     the court’s May 17, 2006, calendar.
22
           Defendant Williams lives in Tennessee.      His case is currently
23
     scheduled for a status conference before the district court the
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     morning of May 19, 2006.     Mr. Bigelow and the defendant would
25
     greatly prefer that the defendant be able to attend his
26
     arraignment and his status conference with just one trip to
27
     Sacramento as opposed to two trips.
28
     ///
                                          1
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 1         For this reason, the parties request that the defendant’s

 2   arraignment be continued from April 21, 2006, to May 17, 2006, at

 3   2:00 p.m.

 4   DATED: April 19, 2006                    Very truly yours,

 5                                            McGREGOR W. SCOTT
                                              United States Attorney
 6

 7
                                        By:/s/ Kenneth J. Melikian
 8                                         KENNETH J. MELIKIAN
                                           Assistant U.S. Attorney
 9

10   DATED: April 19, 2006                    /s/ Kenneth J. Melikian
                                              MICHAEL B. BIGELOW
11                                            Attorney for Defendant
                                              (Signed by Kenneth J. Melikian
12                                             per authorization by Michael B.
                                              Bigelow)
13

14         IT IS SO ORDERED.

15   DATED: April 19, 2006.

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20   Ddad1/orders.criminal/williams0100.ord

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